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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION
                                       www.flsb.uscourts.gov



In re:

Daysi Diaz
                  Debtor(s) .                              Chapter 13
                                                           Case No. 17-11789
                                  /

                 DEBTOR’S MOTION TO MODIFY CHAPTER 13 PLAN

         Pursuant to Local Rule 9013-1, debtor Daysi Diaz moves the Court to modify her

Chapter 13 Plan, and in support of the motion states:

         1.    Debtor became delinquent in Plan payments because she lost her job in

March 2018 and that, coupled with her tenant moving out on July 11, 2018, owing her June

and July rent, left the debtor with no funds to make Plan payments.

         2.    Debtor’s friend has moved in and will be contributing to Plan payments until

the debtor obtains other employment and tenants.



Dated July 27, 2018.

                                      Respectfully submitted,
                                      LEGAL SERVICES OF GREATER
                                      MIAMI, INC.

                                      By /s/ Carolina A. Lombardi
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